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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

 KENNETH PATRICK, Individually and on
                                   )
 Behalf of All Others Similarly Situated,
                                   )
                                   )
                  Plaintiff,       )
                                   ) Case No. CIV-18-1063-G
      v.                           )
                                   )
 SONIC CORP., STEVEN A. DAVIS, S.  )
 KIRK KINSELL, KATE S. LAVELLE,    )
 TONY D. BARTEL, R. NEAL BLACK,    )
 LAUREN R. HOBART, J. CLIFFORD     )
 HUDSON, FEDERICO F. PEÑA,         )
 JEFFREY H. SCHUTZ, KATHRYN L.     )
 TAYLOR, and SUSAN E. THRONSON,    )
                                   )
                  Defendants.      )
              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Kenneth

Patrick (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”) with

prejudice as to Plaintiff only and without prejudice as to all others similarly situated. Defendants

have filed neither an answer nor a motion for summary judgment in the Action, and no class has

been certified.

 Dated: December 11, 2018
                                                  Respectfully submitted,
 OF COUNSEL:
                                                  JONES GOTCHER
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